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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
NORTHERN DIVISION

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES,
AFL-CIO, e¢ al.,

Plaintiffs,
vs. . .
Civil Action No. 1:25-cv-00596
SOCIAL SECURITY ADMINISTRATION,
et al.,
Defendants.

NOTICE
REGARDING DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
AND MOTION FOR EXTENSION OF TIME

Today’s deadline for production of the Administrative Record was agreed to by the parties
at a meet-and-confer on Tuesday, March 25,! and entered by the Court on Thursday, March 27. It
was not until 10:36 a.m. today that Defendants first raised the idea of a protective order. They did
so via an email and attached draft order totaling 14 pages. Plaintiffs immediately responded
agreeing to discuss the issue. At 12:54 p.m., having had the opportunity to briefly review
Defendants’ draft, Plaintiffs emailed Defendants to indicate that (1) Defendants had not left
sufficient time for Plaintiffs to review and agree to a protective order of this scope, (2) Defendants’
draft order was far too broad, (3) Plaintiffs did not agree to Defendants’ request to file the entire
administrative record under seal, and (4) Plaintiffs would be happy to continue discussions if
Defendants identified the specific facts contained in the administrative record justifying issuance

of a limited protective order. Plaintiffs’ email cited applicable case law, stating:

' Plaintiffs initially requested that Defendants produce the Administrative Record by this Monday, March 31, but
agreed to Defendants’ request for more time.
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As you know, a party seeking a protective order under Fed. R. Civ. P. 26(c) “bears
the burden of making the showing of good cause contemplated by the
rule.” Alexander v. F.B.I., 186 F.R.D 60, 64 (D.D.C. 1998). The party requesting
such an order must “make a specific demonstration of facts in support of the
request,” rather than “conclusory or speculative statements about the need for a
protective order.” Jd The moving party “has a heavy burden of showing
extraordinary circumstances based on specific facts that would justify such an
order.” Jd. (cleaned up).

The parties met and conferred regarding the issue from 1:00 p.m. to approximately 1:05
p.m. At 1:37 p.m., Defendants’ counsel emailed Plaintiffs stating that his clients were “unable to
produce the AR without a protective order given the sensitive information” and offering to produce
(but not file) the AR by 3:00 p.m. if Plaintiffs agreed to keep the AR confidential “until the
protective order issue is litigated.” Plaintiffs responded less than 20 minutes later agreeing to keep
the AR confidential until either (1) the protective order issue is litigated or (2) their PI brief is due.
Instead of responding, Defendants filed their Motion for Protective Order, ECF 84.”

Both of Defendants’ motions require review and substantive response, which Plaintiffs
plan to file. But Defendants’ mismanagement of their time and present refusal to produce the
Administrative Record will significantly impact Plaintiffs’ preparation of the Motion for
Preliminary Injunction due in less than 48 hours. Plaintiffs therefore respectfully request the Court

modify the briefing schedule as follows:

? Defendants did not reply to Plaintiffs’ email and counter-offer until 16 minutes after filing their motion.

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Deadline

Filing

Thursday, April 3, at 9:00 a.m.

Plaintiffs’ response in opposition to
Defendants’ Motions for Protective Order

Thursday, April 3, at 2:00 p.m.

Defendants’ reply in support of their Motion

Thursday, April 3, at 4:00 p.m. (or as the
Court’s schedule allows)

Hearing on Defendants’ Motion

Friday, April 4, at 9:00 a.m. (or earlier if
directed by the Court)

Defendants’ filing of the Administrative
Record

Monday, April 7, at 12:00 p.m.

Plaintiffs’ Motion for Preliminary Injunction

Wednesday, April 9, at 5:00 p.m.

Defendants’ response in opposition to
Plaintiffs’ PI Motion

Monday, April 14, at 9:00 a.m.

Plaintiffs’ reply in support of their PI Motion

Defendants oppose this motion.

Dated: April 2, 2025

Respectfully submitted,

[dna nme Junft

Alethea Anne Swift (Bar No. 30829)
Emma R. Leibowitz"*

Mark B. Samburg (Bar No. 31090)
Robin F. Thurston**

Carrie Y. Flaxmant

DEMOCRACY FORWARD FOUNDATION
P.O. Box 34553

Washington, DC 20043

(202) 448-9090
aswift@democracyforward.org
eleibowitz@democracyforward.org
rthurston@democracyforward.org
msamburg@democracyforward.org
cflaxman@democracyforward.org

Counsel for Plaintiffs

* Admission to this Court pending
+ Admitted pro hac vice

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CERTIFICATE OF SERVICE
I, Alethea Anne Swift, certify that I filed the foregoing document with the Clerk of Court for
the United States District Court for the District of Maryland, Northern Division, by using the
CM/ECF system, which sent a notice of such filing to all registered CM/ECF users who have

appeared in this case.

/s/ Alethea Anne Swift
Counsel for Plaintiffs

